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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  ------------------------------------------------------x
  In re:                                                :
                                                        :   In Chapter 7
                   SHARMIL MCKEE                        :
                                                        :   Bankruptcy No. 17-10941(JKF)
                                              Debtor. :
  ------------------------------------------------------x

                         ORDER GRANTING EXPEDITED HEARING

          AND NOW, this _______
                         29th   day of ____________________
                                        November            , 2017, upon

  consideration of the Motion for an Expedited Hearing and Notice Period with Regards to

  Motion to Quash Subpoena filed by Joseph Rotan (the “Motion”), and sufficient cause

  appearing therefor, it is hereby ORDERED that:

          1.       The Motion is GRANTED.

          2.       A hearing shall be held before the Honorable Jean K. FitzSimon on

                   _______________
                   December 6, 2017 at ________
                                       9:30 a.m. at the United States Bankruptcy Court,

                   Courtroom 3, Robert N.C. Nix Building, 900 Market Street, Philadelphia,

                   PA 19107-4299 on the Joseph Rotan’s Motion to Quash Subpoena and for

                   a Protective Order.

          3.       Promptly, upon entry of this Order, counsel for Joseph Rotan shall give

                   notice by serving a copy of this Order on: (a) Debtor’s counsel, Glenn A.

                   Brown, Esq. by email and regular mail; (b) Michael Pearson by regular

                   mail; (c) Chapter 7 Trustee, Lynn E. Feldman by ecf notice and regular

                   mail.
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         4.    Any objection to the Motion to Quash Subpoena may be filed up to the

               time of the hearing, with a copy to Movant’s counsel, or raised orally at

               the hearing.

                                             By the Court:




                                             Jean K. FitzSimon
                                             U.S. Bankruptcy Judge




                                            2
